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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

IN RE: NATIONAL FOOTBALL
LEAGUE PLAYERS’ CONCUSSION
INJURY LITIGATION

THIS DOCUMENT RELATES TO:

BRYAN CALDWELL, ET AL. V.
NATIONAL FOOTBALL LEAGUE, ET

MDL No. 2323
Master Case No. 12-md-2323
Individual Case No. 2:13-cv-05200

Hon. Anita B. Brody

[PROPOSED] ORDER GRANTING
STIPULATION TO AMEND
COMPLAINT

[TITLE OF PLEADING}

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RIDDELL/ALL AMERICAN;
RIDDELL SPORTS GROUP, INC.
EASTON-BELL SPORTS, INC.;
EASTON-BELL SPORTS, LLC; EB
SPORTS CORP.; and RBG
HOLDINGS CORP.

STIPULATION TO AMEND COMPLAINT

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On November __, Plaintiffs and Defendants filed with the Court a Stipulation

to Amend the Complaint to add additional parties.

IT IS ORDERED THAT:

1. Plaintiffs are granted leave to file an Amended Complaint without
prejudice to or waiver of any jurisdictional argument Plaintiffs may wish
to assert.

2. Defendants’ consent to Plaintiffs’ amendment of the Complaint to add
additional plaintiffs is without waiver of—and is with total reservation
of-—any of their defenses, arguments, and positions with regard to the
Complaint, either as it currently exists or as amended, including but not
limited to arguments concerning timeliness and limitations of actions,

failure to state a claim, joinder and severance, or any other arguments.

Hon. Anita B. Brody

DATED: , 2013 UNITED STATES DISTRICT JUDGE

By:

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STIPULATION TO AMEND COMPLAINT
